 Case 1:15-cv-06824-PGG Doc #: 148 Filed 02/09/18 Page 1 of 2 Page ID #: 4733



Epstein Becker & Green, P.C.
250 Park Avenue
New York, New York 10177
212-351-4500
Attorneys for Defendant
St. Barnabas Hospital

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------- X
RUTH DUARTE,                             :                   ECF
                                         :
                             Plaintiffs, :                   Case No:
                 – against –             :                   15-CV- 6824 (PGG)
                                         :
ST. BARNABAS HOSPITAL,                   :
                                         :
                                         :
                             Defendant.  :
--------------------------------------- X



         NOTICE OF MOTION TO STAY ENFORCEMENT OF THE JUDGMENT


         PLEASE TAKE NOTICE that upon the accompanying Memorandum of Law In Support

Of Its Motion to Stay Enforcement of the Judgment, the posting of an appropriate supersedeas

bond securing the Judgment, and upon all prior pleadings and proceedings in this action,

Defendant St. Barnabas Hospital, by its attorneys Epstein Becker & Green, P.C., moves this Court

before The Honorable Paul G. Gardephe, United States District Judge, at the United States

Courthouse, 40 Foley Square, New York, NY, for an Order granting a stay of enforcement of the

Judgment entered in this case on January 30, 2018 pending resolution of Defendant’s post-trial

motions.




Firm:45352818
 Case 1:15-cv-06824-PGG Doc #: 148 Filed 02/09/18 Page 2 of 2 Page ID #: 4734



Dated: New York, New York
       February 9, 2018

                                          EPSTEIN BECKER & GREEN, P.C.

                                          By:     s/ David W. Garland
                                                  David W. Garland
                                                  John F. Fullerton III
                                                  Adriana Kosovych
                                          250 Park Avenue
                                          New York, New York 10177-1211
                                          Tel: (212) 351-4500
                                          Attorneys for Defendant
                                          St. Barnabas Hospital

To:

Megan Goddard (by ECF)
Gabrielle Vinci (BY ECF)
Bennitta Joseph (by ECF)
Bruce Gitlin (by ECF)
Attorneys for Plaintiff




                                      2
Firm:45352818
